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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                               Criminal No. 13-20156
                     Plaintiff,                HON. George Caram Steeh
v.

D-12 MICHAEL TALLEY,

               Defendant.
________________________________/


                   PRELIMINARY ORDER OF FORFEITURE

      1.       A Superseding Information (Information) was issued on December 3,

2015 charging Defendant MICHAEL TALLEY in Count One with Conspiracy to

Possess with Intent to Distribute and Distribution of Cocaine in violation of 21

U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

      2.       Defendant MICHAEL TALLEY entered into a Rule 11 Plea

Agreement (Rule 11) in which he agreed to plead guilty to Count One of the

Information.

      3.       As part of this agreement, Defendant MICHAEL TALLEY agreed,

pursuant to 21 U.S.C. § 853, to forfeit his interest to the United States in the

following:

      (a) any property, real or personal, constituting or derived from any proceeds
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obtained, directly or indirectly, as a result of violations of Title 21, United States

Code, Sections 841 and 846, as alleged in Count One of the Information;

      (b) any property, real or personal, involved in the commission of violations

of Title 21, United States Code, Sections 841 and 846, as alleged in Count One of

the Information; and/or

      (c) a money judgment, and all traceable interest and proceeds which sum in

aggregate is property representing the proceeds of the aforementioned offenses, or

is traceable to such property, and/or is involved in violations of Title 21, United

States Code, Sections 841 and 846, as alleged in Count One of the Information

(collectively, “Subject Property”).

      4.     Defendant MICHAEL TALLEY agreed to the entry of a Stipulated

Preliminary Order of Forfeiture, at or after the time his guilty plea is entered, with

regard to the forfeiture money judgment in the amount of $150,000 and as to any

other property identified before sentencing that is subject to forfeiture pursuant to

21 U.S.C. § 853, as a result of violations of Title 21, United States Code, Sections

841 and 846, as alleged in Count One of the Information.

      5.     In entering into this agreement with respect to forfeiture, Defendant

MICHAEL TALLEY knowingly, voluntarily, and intelligently waived any

challenge to the above-described forfeiture based upon the Excessive Fines Clause

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of the Eighth Amendment to the United States Constitution.

      6.       Defendant further waived the requirements of Federal Rules of

Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the

charging instrument, announcement of the forfeiture at sentencing, and

incorporation of the forfeiture in the judgment. Defendant acknowledged that he

understands that the forfeiture of assets is part of the sentence that may be imposed

in this case and waived any failure by the court to advise him of this, pursuant to

Rule 11(b)(1)(J), at the time his guilty plea is accepted.

      7.       Federal Rules of Criminal Procedure 32.2(b)(2)(A) and (B) provide

that the court must enter a preliminary order of forfeiture directing the forfeiture of

specific property that it finds is subject to forfeiture sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications, before the

order becomes final as to the defendant under Rule 32.2(b)(4), unless doing so is

impractical.

      8.       The court finds that defendant property has a sufficient nexus to the

offense of conviction and is therefore subject to forfeiture to the United States.

      9.       Defendant MICHAEL TALLEY is scheduled to be sentenced on April

7, 2016.



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      NOW THEREFORE, based upon Defendant MICHAEL TALLEY’s

acknowledgment of criminal forfeiture proceedings against defendant property,

Defendant’s Rule 11 Plea Agreement and guilty plea, the government’s

application, and the information in the record,

      IT IS HEREBY ORDERED that a money judgment in the amount of

$150,000 is hereby entered against Defendant MICHAEL TALLEY in favor of the

United States of America;

      IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(c)(1) and

(c)(2) this Preliminary Order of Forfeiture shall become final as to the Defendant

and all other persons upon entry and shall be made part of the sentence and

included in the judgment, given that the forfeiture consists entirely of a money

judgment and ancillary proceedings are not required.

      The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture, and to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).



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IT IS SO ORDERED.

                                              s/George Caram Steeh
Dated: April 7, 2016                          HON. GEORGE CARAM STEEH
                                              United States District Judge

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